Case:17-03861-MCF11 Doc#:35 Filed:07/14/17 Entered:07/14/17 17:28:09   Desc: Main
                           Document Page 1 of 8
Case:17-03861-MCF11 Doc#:35 Filed:07/14/17 Entered:07/14/17 17:28:09   Desc: Main
                           Document Page 2 of 8
Case:17-03861-MCF11 Doc#:35 Filed:07/14/17 Entered:07/14/17 17:28:09   Desc: Main
                           Document Page 3 of 8
Case:17-03861-MCF11 Doc#:35 Filed:07/14/17 Entered:07/14/17 17:28:09   Desc: Main
                           Document Page 4 of 8
Case:17-03861-MCF11 Doc#:35 Filed:07/14/17 Entered:07/14/17 17:28:09   Desc: Main
                           Document Page 5 of 8
Case:17-03861-MCF11 Doc#:35 Filed:07/14/17 Entered:07/14/17 17:28:09   Desc: Main
                           Document Page 6 of 8
Case:17-03861-MCF11 Doc#:35 Filed:07/14/17 Entered:07/14/17 17:28:09   Desc: Main
                           Document Page 7 of 8
Case:17-03861-MCF11 Doc#:35 Filed:07/14/17 Entered:07/14/17 17:28:09   Desc: Main
                           Document Page 8 of 8
